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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

 

X CHAPTER 13
IN RE: CASE NO.: 8-19-73725-ast
Rosalind Davis
DEBTOR(S).
x
CHAPTER 13 PLAN
| Check this box if this is an amended plan. List below the sections of the plan which have been changed:

PART 1: NOTICES

To Debtors: This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not indicate that the
option is appropriate in your circumstance or that it is permissible in your judicial district. Plans that do not comply with the local rules for the
Eastern District of New York may not be confirmable. If you do not have an attorney, you may wish to consult one.

To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated. You should read this plan carefully a
nd discuss it with your attorney. If you do not have an attorney, you may wish to consult one. If you oppose the plan’s treatment of your claim or an
y provision of this plan, you or your attorney must file an objection to confirmation at least 7 days before the date set for the hearing on confirmation;
unless otherwise ordered by the Bankruptcy Court. The Bankruptcy Court may confirm this plan without further notice if no objection to
confirmation is filed. See Bankruptcy Rule 3015. In addition, you may need to file a timely proof of claim in order to be paid under any plan.

1.1: The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the plan includes
each of the following items. If an item is checked as “Nort Included” or if both or neither boxes are checked, the provision will
be ineffective if set out later in the plan.

a. ‘A limit on the amount of a secured claim, set out in Section 3.4, which may result in |; | Included [¥| Not Included
_a partial payment or no payment at all to the secured creditor |

b. Avoidance of a judicial lien or nonpossessory, non-purchase-money security interest, __| Included l¥| Not Included
set out in Section 3.6

& Nonstandard provisions, set out in Part 9. ("| Included \¥] Not Included

1.2: The following matters are for informational purposes.

a. The debtor(s) is seeking to modify a mortgage secured by the debtor(s)’s principal —_y| Included __| Not Included
residence, set out in Section 3.3

b. Unsecured Creditors, set out in Part 5, will receive 100% distribution of their timely | Included fy Not Included
filed claim

PART 2: PLAN PAYMENTS AND LENGTH OF PLAN

2.1: The post-petition earnings of the debtor(s) are submitted to the supervision and control of the Trustee and the Debtor(s) shall pay to the
Trustee for a period of 60 months as follows:

$__ 3,266.00 per month commencing __06/19 __ through and including __05/24 fora period of _60 months.
Insert additional lines if needed.

2 Income tax refunds.

If gencral unsecured creditors are paid less than 100%, in addition to the regular monthly payments. during the pendency of this case, the Debtor(s) w
ill provide the Trustee with signed copies of filed federal and state tax returns for each year commencing with the tax year___ 2019 _, no later than
April 15th of the year following the tax period. Indicated tax refunds are to be paid to.the Trusice upon receipt, however. no later than June 15th of
the year in which the tax returns are filed. 2

2.3: Additional payments,
Check one.
¥| None. If “None” is checked. the rest of § 2.3 need not be completed or reproduced.
_| Debtor(s) will make additional payment(s) to the Trustee from other sources. as specified below. Describe the source. estimated
APPENDIX D Chapter 13 Plan Page |

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amount, and date of each anticipated payment.

PART 3: TREATMENT OF SECURED CLAIMS

3.1: Maintenance of payments (including the debtor(s)’s principal residence).

Check one.
_| None. If “None” is checked, the rest of § 3.1 need not be completed.
iv! Debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes

required by the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed
directly by the debtor(s).

Name of Creditor Last 4 Digits of Account Principal Residence (check | Description of Collateral Current Installment
Number box) Payment (Including
escrow)
KIA Motor Finance 9726 t_| 2017 Kia Niro 24000 $269.00
miles

leased vehicle
Insert additional claims as needed.

3.2 Cure of default (including the debtor(s)’s principal residence).

Check one.

'¥| None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

_ | Any existing arrearage on a listed claim will be paid in full through disbursements by the trustec, with nterest, if any, at the rate
stated below. Unless otherwise ordered by the court, the amounts listed on a proof of claim filed before the filing deadline under

Bankruptcy Rule 3002(c) control over any contrary amounts listed below. In the absence of a contrary timely filed proof of
claim, the amounts listed below are controlling.

Name of Creditor Last 4 Digits of Acct _ Principal Residence Description of Amount Arrearage Interest Rate
No. (check box) Collateral
-NONE-

Insert additional claims as needed.

3.3: Modification of a mortgage secured by the debtor(s)’s principal residence.
Check one

_| The debtor(s) is not seeking to modify a mortgage secured by the debtor’s principal residence.
¥| The debtor(s) is seeking to modify a mortgage secured by the debtor(s)’s principal residence.

Complete paragraph below.
¥| If applicable, the debtor(s) will be requesting loss mitigation pursuant to General Order #582.

The mortgage duc to__ HSBC Bank USA, N.A. (creditor name) on the property known as__ 10 Highwoods Ct., Saint James, New
York under account number ending __ 3013 _ (last four digits of account number) is in default. All arrears, including all past due payments,
late charges, escrow deficiency, legal fees and other expenses due to the morlgagce totaling $___504,640.64 —_. may be capitalized pursuant to a

Joan modification. The new principal balance, including capitalized arrears will be $504,640.64 —. and will be paidal__ 3.5 _% interest
amortized over__40___ycars with an estimated monthly payment of $___ 3,181.40 _ including interest and escrow of $2,226.47 __. The

estimated monthly payment shall be paid directly to the trustee while loss mitigation is pending and until such time as the debtor(s) has commenced
payment under a trial loan modification. Contemporancous with the commencement of a trial loan modification, the debtor(s) will amend the Chapter
13 Plan and Schedule J to reflect the terms of the trial agreement, including the direct payment to the sccured creditor going forward by the deblor(s).

3.4: Request for valuation of security, payment of fully secured claims, and modification of under-secured claims.
Check one

¥| None. If “None” jis checked. the rest of § 3.4 need not be completed or reproduced.
The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

The debtor(s) shall file a motion to determine the value of the secured claims listed below. Such claim shall be paid pursuant to
order of the court upon determination of such motion.

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Name of Creditor — Last 4 Digits of Description of Value of Collateral Total Amountof Estimated Amount Estimated Amount
Acct No. Collateral Claim of Creditor's of Creditor’s
Secured Claim Unsecured Claim
-NONE-

Insert additional claims as needed.
3.5: Secured claims on personal property excluded from 11 U.S.C. §506.

Check one
| None. If “None” is checked, the rest of § 3.5 need not be completed,
a The claims listed below were either:
e Incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle
acquired for the personal use of the debtor(s); or
e — incurred within | year of the petition date and secured by a purchase money sccurity interest in any other thing of value.

These claims will be paid pursuant to §3.1 and/or §3.2. (The claims must be referenced in those sections as well.) Unless
otherwise ordered by the court, the claim amount stated on a proof of claim filed before the filing deadline under Bankruptcy
Rule 3002(c) controls over any contrary amount listed below. In the absence ofa contrary limely filed proof of claim, the
amounts stated below are controlling.

Name of Creditor Last 4 Digits of Acct No. Collateral Amount of Claim Interest Rate
-NONE-

Insert additional claims as needed. * If blank, the interest rate shall be the WSJ Prime Rate on the date of confirmation plus 2 percentage points.
An allowed secured tax claim shall be paid with interest at the applicable statutory rate in effect on the date on which the plan is confirmed,
notwithstanding any contrary provision of the plan.

3.6: Lien avoidance.

Check one
¥| None. If “None” is checked, the rest of § 3.6 need not be completed.
The remainder of this section will be effective only if the applicable box in Part | of this plan is checked

The debtor(s) shall file a motion to avoid the following judicial liens or nonpossessory. non-purchase moncy security interests as
the claims listed below impair exemptions to which the debtor(s) are entitled under 11 U.S.C. §522(b) or applicable state law,
See 11 U.S.C. §522(f) and Bankruptcy Rule 4003(d). Such claim shall be paid pursuant to order of the court upon determination
of such motion.

Name of Creditor — Attorney for Lien Identificaiton Description of Estimated Amount Interest Rate of Estimated Amount
Creditor Collateral of Secured Claim — Secured Portion, if of Unsecured
any Claim
-NONE-

Insert additional claims as needed.

3.7: Surrender of collateral.

Check one

¥! None. If “None” is checked, the rest of § 3.7 nced not be completed.

J The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor's claim. The deblor(s) request
that upon confirmation of this plan the stay under 11 U.S.C. §362(a) be terminated as to the collateral only and that the stay
under 11 U.S.C. $1301 be terminated. Any timely filed allowed unsecured claim resulting from the disposition of the collateral

will be treated in Part 5 below.

Name of Creditor Last 4 Digits of Acct No. Collateral
-NONE-

Insert additional claims as needed.

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PART 4: TREATMENT OF FEES AND PRIORITY CLAIMS
4.1: General.
Trustee's fees and all allowed priority claims, including domestic support obligations other than those treated in $4.5, will be paid in full without

post-petition interesl.

4.2: Trustee’s fees.
Trustee’s fees are governed by statute and may change during the course of the case.

4.3: Attorney’s fees.
The balance of the fees owed to the attorney for the debtor(s) is $3,000.00.

4.4 Priority claims other than attorney’s fees and those treated in § 4.5.
Check one.
¥) None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.
i] The debtor(s) intend to pay the following priority claims through the plan:

Name of Creditor Estimated Claim Amount
-NONE-

4.5 Domestic support obligations.
Check one.

¥| None. If “None” is checked, the rest of § 4.5 need not be completed.
The debtor(s) has a domestic support obligation and is current with this obligation. Complete table below; do not fill in arrears

amount.
_| The debtor(s) has a domestic support obligation that is not current and will be paying arrears through the Plan. Complete table
below.
Name of Recipient Date of Order Name of Court Monthly DSO Payment Amount of Arrears to be

Paid through Plan, If Any
-NONE-

Insert additional claims as needed.
PART 5: TREATMENT OF NONPRIORITY UNSECURED CLAIMS
Allowed nonpriority unsecured claims will be paid pro rata:
_| Not less than the sum of $

yl Not less than__100.00 _% of the total amount of these claims.
_| From the funds remaining after disbursement have been made to all other creditors provided for in this plan.

If more than one option is checked, the option providing the largest payment will be effective.
PART 6: EXECUTORY CONTRACTS AND UNEXPIRED LEASES

6.1: The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts
and unexpired leases are rejected.

Check one,
¥| None. If None” is checked, the rest of § 6.1 need not be completed.

_| Assumed items. Current installment payments will be paid directly by the debtor(s) as specified below, SG/EER lo any contrary
court order or rule. Arrearage payments will be disbursed by the trustee.

Name of Creditor Description of leased Current installment Amount of arrearage to be Paid by Trustee
property or executory payment by Debtor
contract

-NONE-

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Insert additional contracts or leases as needed.

PART 7: VESTING OF PROPERTY OF THE ESTATE

Unless otherwise provided in the Order of Confirmation, property of the estate will vest in the debtor(s) upon completion of the plan.
PART 8: POST-PETITION OBLIGATIONS

8.1: Post-petition mortgage payments, vehicle payments, real estate taxes, and domestic support obligations are to be made directly by the
debtor(s) unless otherwise provided for in the plan

8.2: Throughout the term of this Plan, the debtor(s) will not incur post-petition debt over $2,500.00 without written consent of the Trustee or by
order of the Court.

PART 9: NONSTANDARD PLAN PROVISIONS
9.1; Check “None” or list nonstandard plan provisions.
iv None. If “None” is checked, the rest of Part 9.1 need not be completed.

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in
the form plan or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

The following plan provisions will be effective only if there is a check in the box “included” in §1.1(c).

PART 10: CERTIFICATION AND SIGNATURE(S):;

10.1: I/we do hereby certify that this plan does not contain any nonstandard provisions other than those set out in the final paragraph.
X  /Is/ Rosalind Davis — x
Rosalind Davis Signature of Debtor 2

Signature of Debtor 1

Executed on June 13, 2019 Executed on
X  /s/ Ronald D. Weiss

Ronald D. Weiss 4419

Signature of Attorney for Debtor(s)
Dated: June 13, 2019

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